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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR179
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
RUSSELL PAPROSKI,                                  )
                                                   )
                     Defendant.                    )




       This matter is before the court on the motion of Julie A. Frank to withdraw as counsel
for the defendant, Russell Paproski (Paproski) (Filing No. 32). Ms. Frank represents she has
a conflict of interest in this matter as she recently determined her law partner represents
another person who may be a witness in these proceedings. Ms. Frank’s motion to withdraw
(Filing No. 32) is granted. Mark A. Weber, 11240 Davenport Street, Omaha, NE 68154, (402)
330-6300, is appointed to represent Paproski for the balance of these proceedings pursuant
to the Criminal Justice Act. Ms. Frank shall forthwith provide Mr. Weber with the discovery
materials provided the defendant by the government and such other materials obtained by Ms.
Frank which are material to Paproski’s defense.
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender
and to Mr. Weber.
       IT IS SO ORDERED.
       DATED this 20th day of July, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
